1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 1 of 40 Page ID
                                             #:76201
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 2 of 40 Page ID
                                             #:76202
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 3 of 40 Page ID
                                             #:76203
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 4 of 40 Page ID
                                             #:76204
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 5 of 40 Page ID
                                             #:76205
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 6 of 40 Page ID
                                             #:76206
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 7 of 40 Page ID
                                             #:76207
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 8 of 40 Page ID
                                             #:76208
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 9 of 40 Page ID
                                             #:76209
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 10 of 40 Page ID
                                              #:76210
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 11 of 40 Page ID
                                              #:76211
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 12 of 40 Page ID
                                              #:76212
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 13 of 40 Page ID
                                              #:76213
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 14 of 40 Page ID
                                              #:76214
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 15 of 40 Page ID
                                              #:76215
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 16 of 40 Page ID
                                              #:76216
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 17 of 40 Page ID
                                              #:76217
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 18 of 40 Page ID
                                              #:76218
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 19 of 40 Page ID
                                              #:76219
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 20 of 40 Page ID
                                              #:76220
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 21 of 40 Page ID
                                              #:76221
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 22 of 40 Page ID
                                              #:76222
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 23 of 40 Page ID
                                              #:76223
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 24 of 40 Page ID
                                              #:76224
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 25 of 40 Page ID
                                              #:76225
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 26 of 40 Page ID
                                              #:76226
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 27 of 40 Page ID
                                              #:76227
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 28 of 40 Page ID
                                              #:76228
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 29 of 40 Page ID
                                              #:76229
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 30 of 40 Page ID
                                              #:76230
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 31 of 40 Page ID
                                              #:76231
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 32 of 40 Page ID
                                              #:76232
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 33 of 40 Page ID
                                              #:76233
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 34 of 40 Page ID
                                              #:76234
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 35 of 40 Page ID
                                              #:76235
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 36 of 40 Page ID
                                              #:76236
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 37 of 40 Page ID
                                              #:76237
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 38 of 40 Page ID
                                              #:76238
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 39 of 40 Page ID
                                              #:76239
1092-1093
            Case 2:04-cv-09049-DOC-RNB Document 3816-4 Filed 05/27/08 Page 40 of 40 Page ID
                                              #:76240
